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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                         Criminal No. 18-CR-120(ADM/KMM)


UNITED STATES OF AMERICA,

                     PLAINTIFF,

vs.                                              MOTION TO WITHDRAW AS
                                                 COUNSEL OF RECORD

DWIGHT FREDERICK BARNES,

                     DEFENDANT.


       Attorney for Defendant Dwight Frederick Barnes, Matthew J. Mankey, hereby

respectfully moves the Court to allow counsel to withdraw from this matter. There has

been an irretrievable breakdown of the attorney-client relationship. Specifically, I have

elicited the assistance of attorney Steven Wright and Private Investigator Julie Davison to

help me with this case. Mr. Barnes has reviewed his discovery for the last 10 months and

has formulated definitive views on how he thinks his case should be defended.

       On Sunday September 2, 2018, my defense team and I visited Mr. Barnes and

gave him a memorandum in support of the suppression of evidence that was written by

Mr. Wright. It was well-reasoned and thorough. After reviewing the document Mr.

Barnes called me and asked if I thought the memorandum was persuasive and well

written. When I replied in the affirmative Mr. Barnes asked me to make the motion to

withdraw.

       Mr. Barnes’ motions are due September 20, 2018.


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                                         Respectfully submitted,


Dated: September 5, 2018                  s/ Matthew J. Mankey
                                         Matthew J. Mankey
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                                         Golden Valley, MN 55416
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